Case 2:25-cv-01963-MEF-MAH            Document 276          Filed 06/02/25   Page 1 of 2 PageID:
                                            2821



                                                                     June 2, 2025

VIA ECF
Honorable Michael E. Farbiarz
United States District Judge
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street, Newark, New Jersey 07101
       Re:     Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)
Dear Judge Farbiarz,
        The petitioner writes to respectfully request a short page extension on his letter brief in
support of his motion for preliminary injunction, due on June 4. ECF 275. Specifically, the
petitioner requests an additional two (2) single-spaced pages to explain how he has met his burden
for preliminary relief and the additional evidence he submits in support.
       Counsel for the government consents to the request on the condition it is permitted a
corresponding two-page extension on its response.
We thank the Court for its consideration of this request.
                                                  Respectfully submitted,

/s/ Liza Weisberg

 AMERICAN CIVIL LIBERTIES UNION OF NEW             CLEAR PROJECT
 JERSEY FOUNDATION                                 MAIN STREET LEGAL SERVICES, INC.
 Jeanne LoCicero                                   Ramzi Kassem*
 Farrin R. Anello                                  Naz Ahmad
 Molly K.C. Linhorst                               Mudassar Toppa*
 Liza Weisberg                                     Shezza Abboushi Dallal*
 570 Broad Street, 11th Floor                      CUNY School of Law
 Newark, New Jersey 07102                          2 Court Square
 973-854-1715                                      Long Island City, NY 11101
                                                   Tel: (718) 340-4558
 NEW YORK CIVIL LIBERTIES UNION
 FOUNDATION                                        CENTER FOR CONSTITUTIONAL RIGHTS
 Amy Belsher*                                      Baher Azmy
 Robert Hodgson*                                   Samah Sisay*
 Veronica Salama*                                  Diala Shamas*
 Molly Biklen*                                     666 Broadway, 7th Floor
 125 Broad Street, 19th Floor                      New York, NY 10012
 New York, N.Y. 10004                              Tel: (212) 614-6464
 Tel: (212) 607-3300
Case 2:25-cv-01963-MEF-MAH        Document 276   Filed 06/02/25      Page 2 of 2 PageID:
                                        2822



                                           WASHINGTON SQUARE LEGAL SERVICES, INC.
 AMERICAN CIVIL LIBERTIES UNION            Alina Das*
 FOUNDATION                                Immigrant Rights Clinic
 Omar Jadwat                               245 Sullivan Street, 5th Floor
 Noor Zafar*                               New York, New York 10012
 Sidra Mahfooz*                            Tel: (212) 998-6430
 Michael K.T. Tan*
 Brian Hauss*                              DRATEL & LEWIS
 Esha Bhandari*                            Amy E. Greer
 Vera Eidelman*                            29 Broadway, Suite 1412
 Tyler Takemoto*                           New York, NY 10006
 Brett Max Kaufman*                        Tel: (212) 732-8805
 125 Broad Street, 18th Floor              Fax: (212) 571-3792
 New York, NY 10004
 Tel: (212) 549-2500                       VAN DER HOUT LLP
                                           Marc Van Der Hout (CA Bar #80778)*
                                           Johnny Sinodis (CA Bar #290402)*
                                           Oona Cahill (CA Bar #354525)*
                                           360 Post St., Suite 800
                                           San Francisco, CA 94108
                                           Tel: (415) 981-3000
                                           Fax: (415) 981-3003



                                           Counsel for Petitioner
 * Appearing Pro hac vice
